UMA Sal MLacele titel ecersm<em (el-28) Ch me Lol Lamers

Debtor 1 leeshia Keyonnie Lawrence

First Name Middie Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name

 

 

United States Bankruptcy Court for the: Southern District of Texas

. of Court
Case number 17-30216 David J. Bradley, Clerk
meen C) Check if this is an
amended filing

 

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

a Give Details About Your Marital Status and Where You Lived Before

 

1. What is your current marital status?

a Married
(J Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

C3 No

: of Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1: Dates Debtor 1° Debtor 2: Dates Debtor 2
lived there lived there
U] same as Debtor 1 CL) same as Debtor 1
on Heath St From 09/01/2015 From
Numb: Street
umber ree! To 12/31/2015 umber ree To
Houston TX 77016
City State ZIP Code City State ZIP Code
(Cd same as Debtor 1 (I same as Debtor 1
From From
Number Street Number Street
To To
City State ZIP Code City State ZIP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, !daho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

LC] No
wt Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

EE eoricin the Sources of Your Income

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1
 

at ne ge

CaSé17-30216 Document 20 Filed in TXSB dn 01/27/17 “Page 2 of 13”

Debtor1  leeshia Keyonnie Lawrence Case number (known 1 7-30216

First Name Middle Name Last Name

 

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from ail jobs and all businesses, including part-time activities.

\f you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

Q No
bf Yes. Fill in the details.

 

 

Sources of income Gross income Sources of income Gross income
Check all that apply. (before deductions and Check all that apply. (before deductions and
exclusions) exclusions)
From January 1 of current year until 0 peages, commissions. $ 2,460.08 O wages. commissions,
the date you filed for bankruptcy: onuses, ps ee onuses, lips
Q Operating a business L) Operating a business
. wi Wages, commissions, O Wages, commissions,
For last calendar year: bonuses, tips $ 17,573.40 bonuses, tips $
(January 1 to December 31,2016 __) (J operating a business L) Operating a business
For the calendar year before that: 0 wages, commissions, CD wages, commissions,
bonuses, tips $ 10 173 00 bonuses, tips $
(January 1 to December 31,2015 () Operatinga business §~————~———_ (1 operating a business

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income: interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

C) No
Wl Yes. Fill in the details.

 

Sources of income Gross income from Sources of income Gross income from
Describe below. each source Describe below. each source
(before deductions and (before deductions and
exclusions) exclusions)
From January 1 of current year until s___— 215.00
the date you filed for bankruptcy:
For last calendar year: SNAP Benefits $ 3,526.00 $

 

(January 1 to December 31 2016 ) (estimate)

Pf

 

 

 

 

 

3.
YYYY
$ $
For the calendar year before that, © SNAP Benefits $ 2,975.00 $
(January 1 to December 31,2015) (estimate) $ 3
YYYY
$ 5
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2

 
Case 17-30216 Document 20 Filed in TXSB‘on 01/27/17 Page 3 of.

Debtor1  leeshia

Keyonnie Lawrence

 

First Name

Middle Name

Case number (rinown_17-30216°

sce os
2

i

 

Last Name

ee List Certain Payments You Made Before You Filed for Bankruptcy

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

U) No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personai, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

C2 No. Go to line 7.

C] Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

Yi Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

wi No. Go to line 7.

J Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

Creditor's Name

Dates of Total amount paid Amount you still owe
payment

 

Number

Street

 

 

City

State ZIP Code

 

 

Creditors Name

 

Number

Street

 

 

City

State ZIP Code

 

Creditor's Name

 

Number

Street

 

 

City

State ziP Code

Was this payment for...

Q Mortgage

Q) car

LI credit cara

CY Loan repayment

Q Suppliers or vendors

C2 other

Mortgage

CI car

Q) credit card

LI Loan repayment

L) Suppliers or vendors

QQ other

Qj Mortgage

L) car

CJ credit card

L] Loan repayment

QO Suppliers or vendors

(4) Other

 

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 3

 

 
leeshia

First Name

Debtor 4

~Casé 17-30216 “Document 20 “Filed in TXSB on 01/27/£7 Page 4 of 12

Keyonnie

Last Name

Lawrence

Case number (known) 17-30216

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider? |
: Insiders include your relatives; any general partners; relatives of any general partners: partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
such as child support and alimony.

WA No

C) Yes. List all payments to an insider.

Insider's Name

Dates of
payment

 

 

Number Street

 

 

City

State ZIP Code

Totai amount Amount you still, Reason for this payment
paid owe

 

 

 

 

Insiders Name

 

Number Street

 

 

City

State ZIP Code

 

 

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited

an insider?

Include payments on debts guaranteed or cosigned by an insider.

i No

(Ld Yes. List all payments that benefited an insider.

Dates of
payment

 

Insider's Name

 

Number = Street

 

 

City

State ZIP Code

 

Insider's Name

 

Number Street

 

 

Official Form 107

State ZIP Code

Statement of Financial Affairs for Individuals Filing for Bankruptcy

Total amount Amount you still Reason for this payment

paid owe __Include creditor’s name

page 4
~ Case'17-30216" Docurnent 20: Filed in TXSB on D1/27/17 Page 5 of 12

Debtor1 _-‘leeshia Keyonnie — Lawrence Case number drinoun 17730216

First Name Middle Name Last Name

 

 

Identify Legal Actions, Repossessions, and Foreclosures

 

 

 

- 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?

List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
and contract disputes.

W No

(J Yes. Fill in the details.

 

 

 

 

 

 

 

 

 

 

 

Nature of the case Court or agency Status of the case
Case title Court Name u Pending
UL on appeal
Number Street L) concluded
Case number
City State ZIP Code
Casetile Court Name O Pending
C} on appeal
Number Street UI concluded
Case number
City State ZIP Code

 

 

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

W No. Goto line 11.
LJ Yes. Fill in the information below.

Describe the property Date Value of the property

 

 

 

Creditor's Name

 

 

 

Number Street Explain what happened

CL) Property was repossessed.

L) Property was foreclosed.

LJ Property was garnished.

City State ZIP Code CQ) Property was attached, seized, or levied.

 

 

Describe the property Date Value of the property

 

Creditor’s Name

 

Number Street
Explain what happened

L) Property was repossessed.

 

J Property was foreclosed.

 

(J pr .
City State ZIP Code operty was garnished

i Property was attached. seized, or levied.

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5

 
“FS” 6886 17-30416 Document 20 Filed in TXSBon 01/27/17 Page 6 of 12

Debtor1  leeshia Keyonnie Lawrence Case number rknow 17-30216

 

First Name Middle Name Last Name

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

WZ No

C] Yes. Fill in the details.

 

 

 

 

 

 

 

 

Describe the action the creditor took Date action Amount
was taken
Creditors Name
$
Number Street
City State ZIP Code Last 4 digits of account number: XXXX-—

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

wi No
() Yes

eee Certain Gifts and Contributions

' 13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

Wi No

C) Yes. Fill in the details for each gift.

 

 

 

 

 

 

 

 

 

 

 

 

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
$
Person to Whom You Gave the Gift
$
Number Street
City State ZIP Code
Person’s relationship to you
Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
- $
Person to Whom You Gave the Gift
$

 

Number Street

 

City “late ZIP Code

Person's relationsmip to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6
e

om Mae

~ Case 17-30216 Document 20 Filed in TXSB ‘on 01/27/17 Page 7 of 12 .

Debtor 1 leeshia Keyonnie Lawrence Case number (rknown_17-30216

First Name Middie Name Last Narne

 

_ 14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

W No

CJ) Yes. Fill in the details for each gift or contribution.

 

 

Gifts or contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed
$.
Charity's Name
$

 

 

Number Street

 

 

 

City State ZIP Code

Ea List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

Wf No

LI Yes. Fill in the details.

 

Describe the property you fost and Describe any insurance coverage for the loss Date of your Value of property
: how the loss occurred | oo. we loss lost
Include the amount that insurance has paid. List pending insurance

claims on line 33 of Schedule A/B: Property.

 

 

 

 

List Certain Payments or Transfers

 

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

W No

LJ Yes. Fill in the details.

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
Person Who Was Paid made
Number Street $
$

 

 

City State ZIP Code

 

Email or website address

 

Person Who Made the Payment, if Not You

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7

 

 
ve vo Be ee

Case’17-30216 Document 50. Filed in TXSB on 01/27/17 Pagé 8 of 12 *

Debtor 4 leeshia Keyonnie Lawrence Case number (rknown_1?-30216

First Name Middle Name Last Name

 

 

Description and value of any property transferred Date payment or Amount of
transfer was made payment

 

 

Person Who Was Paid

 

Number Street

 

 

City State ZIP Code

 

Email or website address

 

Person Who Made the Payment, if Not You

 

 

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

WM No

LL} Yes. Fill in the details.

 

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
made
Person Who Was Paid
Number Street / —_—__ $
$
City State ZIP Code

 

 

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?

Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement.

wf No
LI Yes. Fill in the details.

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

 

 

i Person Who Received Transfer ;

 

 

Number Street :

 

 

City State ZIP Code

Person’s relationship@o you

 

Person Who Received Transfer

 

Number Street

 

 

‘ity State ZIP Code

Person’s relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 8

 

 
-

Case 17-30216 Document 20 Filed in TXSB on 01/27/17 Page 9 of 12.

Debtor 1 leeshia Keyonnie Lawrence Case number (rinown_1 7-302 16

First Name Middle Name Last Name

 

_ 19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

6 No

C) Yes. Fill in the details.

Description and value of the property transferred Date transfer
was made

Name of trust

 

 

i

wo, tye cat tg

 

List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

W No

C] Yes. Fill in the details.

 

 

Last 4 digits of account number Type of account or Date account was Last balance before
instrument closed, sold, moved, _ closing or transfer
or transferred
Name of Financial institution
XXXX— CO checking $
Number Street L) Savings

) Money market

 

O) Brokerage
CD other.

 

City State ZIP Code

 

XXXX- QO Checking $

Name of Financial Institution
Q Savings

 

Number Street QO Money market
Q Brokerage
CD other

 

 

City State ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

wl No
UO) Yes. Fill in the details.

 

 

 

 

 

~. Who else had access to it? Describe the contents ‘ Do you stiil
‘ee have it?
Gl No
Name of Financial Institution Name : ) Yes

 

 

Number Street Number Street

 

 

City State ZIP Code

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 9

 

 
Case 17-30216 Document 20’ Filed in TXSB on 01/27/1

Sh St OR Mg ee

“Page 10 of 12

Debtor 4 leeshia Keyonnie Lawrence Case number ¢rinown_17-30216

First Name Middle Name Last Name

 

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No

C2) Yes. Fill in the details.

 

 

Who else has or had access to it? Describe the contents Do you still
__. have it?
: Q) No
Name of Storage Facility Name : : OQ Yes
i b
Number Street Number Street :

 

City State ZIP Code

 

 

City _ State ZIP Code

 

Sr Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.

wf No
C) Yes. Fill in the details.

 

 

 

 

 

 

 

 

 

Where is the property? Describe the property Value
Owner's Name : $
Numb Street
Number Street
City State ZIP Code :
City State ZIP Code j

 

 

 

i
xa Give Detalis About Environmental Information :

For the purpose of Part 10, the following definitions apply:

 

_ = Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

a Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

a Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24,Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

J No

CI Yes. Fill in the details.

 

 

 

Governmental unit Environmental law, if you know it Date of notice
Name of site Governmental unit
Number Street Number Street
City State ZIP Cade

 

 

City State ZiP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 10

 
Casé 17-30216 Document 20 Filed in TXSB on 01/27/17 Page 11 of 12

Debtor1  leeshia Keyonnie Lawrence Case number (rinown_1/-30216

 

 

First Name Middle Name Last Name

25. Have you notified any governmental unit of any release of hazardous material?

Wf No

C2 Yes. Fill in the details.

 

 

 

 

Date of notice

 

 

 

 

 

Governmental unit Environmental law, if you know it
Name of site Governmental unit
Number Street Number Street

City State ZIP Code

 

City State ZIP Code

 

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

i No

Q) Yes. Fill in the details.

 

 

 

 

 

Court or agency Nature of the case
Case title

Court Name

Number Street
Case number City State ZIP Coda

Give Details About Your Business or Connections to Any Business

Status of the
case

 

C) Pending
CQ) on appeal
Ol Concluded

 

C) Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
C) A member of a limited liability company (LLC) or limited liability partnership (LLP)

Cha partner in a partnership

() An officer, director, or managing executive of a corporation

(2) An owner of at least 5% of the voting or equity securities of a corporation

wf No. None of the above applies. Go to Part 12.
CQ Yes. Check all that apply above and fill in the details below for each business.

 

 

Business Name

 

 

 

 

 

 

Describe the nature of the business Employer Identification number
Do not include Social Security number or !TIN.

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

EIN;
Number Street . . .
Name of accountant or bookkeeper Dates business existed
From To.
City State ZIP Code
Describe the nature of the business Employer Identification number

 

Business Name

 

 

 

EIN;
Number Street
Name of accountant or bookkeeper Dates business existed
From To
City State ZIP Code
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy

Do not include Social Security number or ITIN.

page 11

 
~ Case 17-30276 “Document 26° Filed in TXSB 6n 61/2717 ° Page 12 of 12

leeshia Keyonnie Lawrence Case number ¢rinown 17-30216

First Name Middle Name Last Name

Debtor 1

 

Employer Identification number

Describe the nature of the business
Do not include Social Security number or ITIN.

 

 

Business Name

 

 

Number Street Name of accountant or bookkeeper Dates business existed

 

 

From To

 

City State ZIP Code

 

 

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

WJ No

CJ Yes. Fill in the details below.

Date issued

 

Name MM/DD/YYYY

 

Number Street

 

 

City State ZIP Code

 

| have read the answers on this Staternent of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are trie and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

.C. §§ 152, 1341, 1519, and 3571.

  
     
  
 

x

Signature of Debtor 2

 

Signature of Debtor 1

one 121 2017 bat

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

wi No °
(2 Yes

4

 

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

 

a No
‘ad Yes. Name of person _ Attach the Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119).
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 12

 

 
